                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION-DETROIT

IN THE MATTER OF:

JACQUELINE D. FRANKLIN,                               Case No. 18-42004-MLO
                                                      Honorable MARIA OXHOLM
       Debtor.                                        Chapter 13

23309 Stromp Court
Trenton, MI 48183
XXX-XX-9483
___________________________________/

                              NOTICE OF APPEARANCE AND
                          REQUEST TO BE PLACED ON THE MATRIX

       PLEASE TAKE NOTICE that Shakeena G. Melbourne of KILPATRICK & ASSOCIATES,

P.C., hereby appears as counsel for Ford Motor Credit Company LLC, and pursuant to Federal Rules of

Bankruptcy Procedure and the Bankruptcy Code, requests that all notices given or required to be given in

these proceedings and all papers served or required to be served in these proceedings, be given to and

served upon them at the following address: Kilpatrick & Associates, P.C., 903 N. Opdyke Road, Suite C,

Auburn Hills, Michigan, 48326.


                                               Respectfully submitted;

                                               KILPATRICK & ASSOCIATES, P.C.



                                       By:     /s/ SHAKEENA G. MELBOURNE
                                               RICHARDO I. KILPATRICK, ESQ. (P35275)
                                               SHAKEENA G. MELBOURNE, ESQ.(P78958)
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Date: February 22, 2018                        (248) 377-0700




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